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                            United States District Court
                                      for the
                            Southern District of Florida

   United States of America,               )
                                           )
   v.                                      ) Criminal Case No. 19-20361-Scola
                                           )
   Harol Melgarejo, Defendant              )

                   Order on Motion for Compassionate Release
         Now before the Court is the Defendant Harol Melgarejo’s motion for
  compassionate release due to the risks posed by the Covid-19 pandemic. For the
  reasons set forth below, the Court denies Melgarejo’s motion (ECF No. 138).
         Melgarejo laundered over $750,000 in cocaine trafficking proceeds and
  was involved in the distribution of over 200 kilograms of cocaine. He pled guilty
  to conspiracy to commit money laundering, and the Court sentenced him to 48
  months in prison. He surrendered on March 16, 2020, and therefore has served
  only four and a half months in prison out of his 48-month sentence, or roughly
  10% of his sentence.
         The Court finds that Melgarejo exhausted his administrative requirements.
  Section 3582 allows the Court to consider a defendant’s motion for
  compassionate release “after the defendant has fully exhausted all
  administrative rights to appeal a failure of the Bureau of Prisons to bring a
  motion on the defendant's behalf or the lapse of 30 days from the receipt of such
  a request by the warden of the defendant's facility, whichever is earlier.” 18
  U.S.C.A. § 3582(c)(1)(A). Here, Melgarejo filed a request for administrative relief
  with the McRae Correction Facility seeking release on April 21, 2020, and more
  than 30 days have passed with no action taken by the Bureau of Prisons. (ECF
  No. 138 at 3.) Because Melgarejo exhausted his administrative requirements, the
  Court will determine his motion on the merits.
         If an inmate has a chronic medical condition that has been identified by
  the Centers for Disease Control as elevating an inmate’s risk of becoming
  seriously ill from COVID-19, that condition may constitute “extraordinary and
  compelling reasons” for his release, especially for inmates over the age of 65.
  Melgarejo claims that he suffers from hypertension and asthma. Even though
  Melgarejo’s conditions do place him statistically at a higher risk of contracting a
  severe case of the coronavirus, his condition does not appear to be at an acute
  level that would warrant his release after completing 10% of his sentence. Cf.
  United States v. Oreste, Case No. 14-cr-20349 (S.D. Fla. Apr. 6, 2020) (Scola, J.)
  (granting compassionate release for the Defendant with end-stage renal failure,
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  heart failure, diabetes, and a history of respiratory illnesses after he completed
  60% of his sentence). And, because Melgarejo is only 29 years old, his risk of
  catching a severe case of the virus is further diminished. Therefore, the Court
  declines to find that extraordinary and compelling reasons warrant his release.
        In sum, the Court denies Melgarejo’s motion for release (ECF No. 138).
        Done and ordered at Miami, Florida, on August 3, 2020.

                                              ________________________________
                                              Robert N. Scola, Jr.
                                              United States District Judge
